Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 4 Page 1 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 4 Page 2 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 4 Page 3 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 4 Page 4 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 4 Page 5 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 4 Page 6 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 4 Page 7 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 4 Page 8 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 4 Page 9 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 10 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 11 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 12 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 13 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 14 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 15 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 16 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 17 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 18 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 19 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 20 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 21 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 22 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 23 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 24 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 25 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 26 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 27 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 28 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 29 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 30 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 31 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 32 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 33 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 34 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 35 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 36 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 37 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 38 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 39 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 40 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 41 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 42 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 43 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 44 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 45 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 46 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 47 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 48 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 49 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 50 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 51 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 52 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 53 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 54 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 55 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 56 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 57 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 58 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 59 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 60 of 61
Case 8:21-bk-11710-ES   Doc 135-3 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 4 Page 61 of 61
